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                                                                              FILED
                  IN THE UNITED STATES DISTRICT COURT                          SEP .• 4 2018
                      FOR THE DISTRICT OF MONTANA                              Clerk, U.S Courts
                                                                               District Of Montana
                             BUTTE DIVISION                                     Missoula Division



 UNITED STATES OF AMERICA,                              CR 18-04-BU-DLC

                      Plaintiff,
                                                               ORDER
         vs.

 RUTH BAYONA,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on August 16, 2018. Neither party objected and

therefore they are not entitled to de nova review of the record. 28 U.S.C. §

636(b)(l); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981 ). Clear error exists if the Court is left with a "definite and firm

conviction that a mistake has been committed." United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Ruth Bayona's guilty plea

after Bayona appeared before him pursuant to Federal Rule of Criminal Procedure

11, and entered a plea of guilty to one count of possession, with intent to

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distribute, methamphetamine in violation of21 U.S.C. § 841(a)(l) (Count II) as

set forth in the Indictment. In exchange for Defendant's plea, the United States

has agreed to dismiss both Count I and the allegation of forfeiture in the

Indictment.

      I find no clear error in Judge Lynch's Findings and Recommendation (Doc.

95), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Ruth Bayona's motion to change plea

(Doc. 76) is GRANTED and Ruth Bayona is adjudged guilty as charged in Count

II of the Indictment.

      DATED this 4      ~day of September,


                                       Dana L. Christensen, Chief Judge
                                       United States District Court




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